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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

    UNITED STATES OF AMERICA
                                              No. 21 CR 505
               v.

    TANGTANG ZHAO                             Judge Manish S. Shah


                     CONSOLIDATED MOTIONS IN LIMINE

        The United States of America, by GLENN S. LEON, Chief of the Fraud Section,

Criminal Division, United States Department of Justice, respectfully submits these

consolidated motions in limine in advance of trial scheduled for June 20, 2023.

I.      BACKGROUND

        In the spring of 2021, defendant Tangtang Zhao (“defendant” or “Zhao”) was

employed as a pharmacist at various Walgreens pharmacies in Chicago. In this

position, the defendant had access to COVID-19 (“COVID”) vaccination cards issued

by the Center for Disease Control (“CDC”) to Walgreens for use in providing COVID

vaccines to the general public. The cards were federal property, procured and paid for

by the federal government as part of the national COVID vaccination initiative. The

defendant stole COVID vaccination cards from his workplace, then sold them for his

personal enrichment on eBay, an online marketplace.

        The defendant, who operated under the eBay username “asianjackson,”1

marketed the cards as authentic vaccination cards from the CDC. For instance, in



1 The government intends to admit eBay subscriber information and other identifying
information at trial to prove the defendant was the owner and operator of this account. As
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describing his item for sale, he used descriptions in eBay listings such as “Authentic

CDC Vaccination Record Card” and “Authentic Blank CDC Vaccination Record Card.”

In numerous instances when the defendant was asked by other eBay users whether

the cards were genuine, he responded in the affirmative.

       Between March 24, 2021, and April 13, 2021, the defendant created 37

separate listings advertising the sale of COVID vaccination cards.2 In each instance,

the listing noted the number of cards available for purchase; in some cases, only one

card was available, while in other cases, there were as many as 50 cards listed. In

total, through his 37 listings, the defendant made 658 cards available for purchase.

The defendant initially set the price at $7.99 per card, but he increased the price six

times over this three-week period, and ultimately sold cards for $10.99 each.

       On numerous occasions, eBay took administrative action against the

defendant’s account because it did not comply with eBay’s rules and policies. In

particular, on April 1, 3, 7, and 13, 2021, eBay notified the defendant that his listings

marketing COVID vaccination cards violated the eBay policy against the sale of

government property; each notification also advised the defendant that eBay had

removed the listing in question. On April 15, 2021, eBay imposed a 10-day selling

restriction against the defendant’s account, again notifying the defendant that a



such, for purposes of this pleading, the government uses “the defendant” and “asisanjackson”
synonymously.
2This figure includes one instance in which the defendant marketed a “Clear Pouch For CDC
Vaccination Record Card,” as is discussed further infra.

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listing from his account marketing COVID vaccination cards violated the policy

against the sale of government property. Each notification was provided via email to

tzhao07@yahoo.com, the email address associated with the defendant’s eBay account.

      Throughout the time frame at issue, the defendant routinely answered

questions from, and otherwise chatted with, other eBay users about the COVID

vaccination cards for sale. Generally, these were chats relating to the availability or

authenticity of the cards, or about details related to a purchase (e.g., number of cards,

shipping address, payment method, etc.). Exhibit A, appended to this motion,

provides a sampling of the defendant’s relevant chat communications.

      On at least one occasion, the defendant took deceptive measures to conceal that

he was selling COVID vaccination cards. In particular, on April 2, 2021—one day

after he received his initial warning from eBay that he was not permitted to sell

government property on the platform—the defendant created a listing advertising an

item called “Clear Pouch For CDC Vaccination Record Card.” However, based on

chats between the defendant’s eBay account and the accounts of potential buyers, the

evidence shows that the defendant was not selling pouches for COVID vaccination

cards, but rather, the vaccination cards themselves; he was merely trying to avoid

scrutiny by using a different description. In one conversation with a buyer on April

2, 2021, the buyer asked, “Would that possibly include a vaccine card if I buy?” and

the defendant replied, “Haha, yep. There is.” The same day, another buyer asked,

“Are you selling just the Ziploc bag or does the contents come with it? Thanks!” to


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which the defendant replied, “The stuff inside also, if u know what I’m talking about

;) 100% authentic.”

      One eBay user, a trained physician referred to herein as “Witness 1,” became

aware of the defendant’s sales listing for a vaccination card “pouch.” Suspecting that

the description was a cover for the sale of an actual COVID vaccination card, Witness

1 ordered the item on April 2, 2021. On April 3, 2021, the seller of the item

(“asianjackson”) messaged Witness 1 to advise that eBay had removed the sales

listing, but that the item would still ship. On April 9, 2021, Witness 1 received in the

mail a blank COVID vaccination card. Concerned with the ease with which Witness

1 obtained the card, Witness 1 contacted a reporter from the Washington Post to

share his experience.

      Throughout the time frame in question, the defendant regularly and promptly

responded to chats sent by other eBay users. However, on April 15, 2021, the

defendant received the following message from another user:

      Hi Tangtang - I'm a Washington Post health reporter who's been writing
      about the Covid-19 vaccines. I see that you've sold more than 100
      "authentic CDC vaccination record" cards through eBay. There's a good
      chance that I'll be writing about your sales on eBay in the next few days.
      Why did you decide to sell these cards? Did you get access to them while
      working at a pharmacy? Have you considered that selling these cards
      may complicate efforts to track who's actually been vaccinated? I think
      it's important that we talk before I write my story. If you'd prefer to
      communicate outside of eBay, please let me know when you're available.




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        The defendant did not respond to this message. After the message from the

purported news reporter, other users continued to message the defendant about

purchasing vaccination cards. The defendant did not respond to most of those users.

To the users to which he did respond, the defendant sent the following message, or

something similar: “Hello, This (sic) is the original owner of the account. My account

was compromised and that person was using my account to selling (sic) these

vaccination cards. If you received this product, please destroy them. Refund will be

issued. I‘m sorry about the trouble.”

        After the message from the purported news reporter on April 15, 2021, the

defendant did not list or sell any COVID vaccination cards.

        On August 12, 2021, a grand jury in the Northern District of Illinois returned

an Indictment charging the defendant with 12 counts of theft of government property,

in violation of 18 U.S.C. § 641. Each count relates to a separate eBay sale of COVID

vaccination cards. The charges span the timeframe of March 25, 2021, to April 11,

2021, nearly the entirety of the three-week window within which the defendant sold

the cards on eBay.

II.     MOTIONS TO ADMIT EVIDENCE & ARGUMENT

        A.    MOTION TO ADMIT ALL SALES ACTIVITY RELATING TO COVID
              VACCINATION CARDS

        First, the government seeks to admit evidence of all sales activity of the

“asianjackson” eBay account relating to COVID vaccination cards. For purposes of

this motion, “sales activity” includes (1) sales listings of vaccination cards, (2) sales

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of vaccination cards, and (3) chat messages between the defendant and other users

regarding vaccination cards, regardless of whether the specific listings, sales, or chats

in question directly resulted in charged counts in the Indictment.3 Evidence of sales

activity is direct evidence of the charged offenses, not “other acts” evidence pursuant

to Federal Rule of Evidence 404(b). However, even if this Court should determine that

all pertinent sales activity constitutes “other acts evidence,” the evidence is

admissible pursuant to Rule 404(b)(2).

                1.      Records of Sales Activity are Direct Evidence of the
                        Charged Conduct.

         Complete eBay sales activity records relating to COVID vaccination cards,

    including sales listings, sales, and chat messages, are direct evidence of the offenses

    charged, and are not “other acts” evidence governed by Rule 404(b). “Rule 404(b)

    only applies to ‘[e]vidence of other crimes, wrongs, or acts . . ..’ So, if the evidence is

    admitted as direct evidence of the charged offense, Rule 404(b) is not applicable.”

    United States v. Adams, 628 F.3d 407, 414 (7th Cir. 2010) (citing United States v.

    Alviar, 573 F.3d 526, 538 (7th Cir. 2009)). This reasoning also applies in cases where

    the offense charged is something other than a conspiracy or scheme. See, e.g., United


3 The chat communications that came from the “asianjackson” account are admissible as
statements of a party-opponent and are not hearsay under Fed. R. Evid. 801(d)(2)(A).
Messages to the “asianjackson” account from other eBay users are also admissible because
they are necessary to provide context to the defendant’s chat messages. See United States v.
Lewisbey, 843 F.3d 653, 658 (7th Cir. 2016) (“The text messages [the defendant] sent are his
own statements and as such are excluded from the definition of hearsay by Rule 801(d)(2)(A).
The messages he received were admitted not for the truth of the matter asserted but instead
to provide context for [the defendant’s] own messages.”) (emphasis in original).

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States v. Carson, 870 F.3d 584, 599-600 (7th Cir. 2017); United States v. McKibbins,

656 F.3d 707, 711 (7th Cir. 2011).

     In the sex-trafficking case Carson, for example, the Court upheld the

admission of evidence of the defendant’s uncharged conduct toward women,

asserting that it provided context that was direct evidence of the crimes charged.

870 F.3d at 600. The defendant in Carson was charged with four counts of sex

trafficking, in violation of 18 U.S.C. § 1591(a). Id at 592. The disputed evidence,

which the Court ultimately allowed, involved women who were not victims of the

crimes charged, but who were referenced throughout trial in various ways that

arguably depicted the defendant as a sex trafficker: being driven to sexual

appointments with paying customers arranged by the defendant; appearing in the

defendant’s advertisements      for sexual services; appearing       in   provocative

photographs the defendant used to obtain customers. Id at 598-99. In its holding,

the Court acknowledged, “[t]he fact of the matter is that [the defendant] ran a sex-

trafficking business with many women in his grasp. It would be near to impossible

to describe any of the operations involving the named victims without mentioning

the other women . . .” Id. at 600. The Court viewed some of the evidence not as other

bad acts, “but rather part and parcel of the crime at issue.” Id.

     In the instant case, while the 12 counts in the Indictment relate to 12

individual sales, the defendant’s complete eBay sales activity relating to COVID

vaccination cards provides necessary context of the marketplace in which the


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    defendant marketed his product, as well as the availability of cards the defendant

    had at his disposal. In particular, between March 24 and April 13, 2021, the

    defendant, through his “asianjackson” eBay user account, created 36 separate sales

    listings making available for purchase a total of 608 COVID vaccination cards. In

    each listing, the item advertised for sale was described as “Blank CDC Vaccination

    Record Card,” “Authentic Blank CDC Vaccination Record Card,” or “Authentic CDC

    Vaccination Record Card.” In addition, on April 2, 2021, the defendant created a

    sales listing for a “Clear Pouch For CDC Vaccination Record Card.” This listing had

    50 items available for purchase. As referenced supra, this listing was not actually

    for a clear pouch for a CDC vaccination card; rather, it was a listing for a COVID

    vaccination card itself. The “clear pouch” language was an attempt to conceal from

    eBay that the user was violating eBay policy by offering government-issued property

    for sale, one day after eBay removed a separate listing by the user for violating the

    same policy. Therefore, in total, the defendant created 37 separate sales listings for

    a total of 658 vaccination cards—all over the course of only 21 days. He sold the

    overwhelming majority of the items available in those listings.4 He frequently

    created new sales listings immediately or shortly after the closure of prior sales




4 Each of the defendant’s sales listings noted that between one and 50 cards (or card
“pouches”) were available for purchase. Of the 37 sales listings, the defendant completed
“full” sales (i.e., sold all the available items in a particular listing) 33 times. In the four
instances he did not complete “full” sales, he sold the following numbers of available items:
43 out of 50; 47 out of 50; 47 out of 50; and 35 out of 50.

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    listings (i.e., after all available items associated with a particular listing were

    depleted).

          First, the complete vaccination card sales activity outlined above is directly

    relevant to the defendant’s access to the cards charged in the Indictment. In

    particular, over the course of 21 days, the defendant systematically and regularly

    advertised COVID vaccination cards for sale. The fact that some of that advertising

    resulted in sales that were not charged does not negate the probative value of the

    same advertising that did result in charged counts. This evidence supports the

    notion that the defendant possessed the cards at issue in the Indictment because it

    demonstrates that the defendant had consistent possession of vaccination cards

    throughout the timeframe in question.

          The relevance of the complete vaccination card sales activity to the charged

    counts is even more apparent when considered in the context of an example. In

    Count 1 of the Indictment, the 10 cards at issue relate to a sale the defendant made

    to buyer J.M. on March 25, 2021. The night before this sale, on March 24, 2021, at

    7:49 p.m.,5 the defendant created his first sales listing for a COVID vaccination card.

    That listing advertised a single item titled “Blank CDC Vaccination Record Card.”

    That item sold at 8:03 p.m., and at 8:06 p.m., the defendant created another identical

    listing. The second item sold at 8:24 p.m., and at 8:26 p.m., the defendant created a



5   All times referenced are in Central Standard Time.

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    third identical listing, which also led to a quick sale. In total, on March 24, 2021, the

    defendant created 10 separate sales listings, all of which led to sales that were

    completed on the same day. The next day (March 25, 2021 – the same date as the

    Count 1 sale), the defendant created a total of four sales listings for COVID

    vaccination cards, posting the first listing at 7:29 a.m.

          Given the frequency with which the defendant advertised his possession of

    COVID vaccination cards on the day of and day before the sale that led to Count 1

    of the Indictment, the sales activity around the Count 1 transaction provides

    necessary context and strong circumstantial evidence that the defendant possessed

    the stolen cards at issue in Count 1, even before advertising them. This evidence is

    “part and parcel of the crime at issue” in Count 1, see Carson, 870 F.3d at 600 (7th

    Cir. 2017), and is appropriate evidence for the jury to consider.6

          The same reasoning applies to all counts in the Indictment. The entire time

    period in which the defendant created sales listings for, and completed sales of,

    COVID vaccination cards is brief, spanning only 21 days from March 24 to April 13,



6 The general notion that the defendant possessed cards even when he was not actively
advertising them is further corroborated by his chat messages. For instance, on April 5, 2021,
he completed his final sale of a particular listing (i.e., sold his 50th of 50 available cards) at
6:44 p.m. He did not create another sales listing until the following evening (April 6, 2021)
at 5:55 p.m. However, at 1:23 a.m. on April 6, after a potential buyer messaged the defendant
to ask if he had more cards available, the defendant responded, “Yes, I do have some more,
how many would u like to have?” In a separate message chain, another potential buyer asked
on April 8, 2021, “Do you have any more for sale?” to which the defendant responded, “i (sic)
do have some more. I will list them either tonight or tomorrow night depends on how busy i
(sic) am.”

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 2021. The Indictment lists cards associated with 12 sales occurring between March

 25 and April 11, 2021. Given the generally condensed time frame of the full sales

 activity, coupled with the fact that the sales resulting in specific charges spans

 almost that full time frame, the entirety of the sales activity is relevant to the

 charged conduct. As such, the Court should allow evidence of all sales activity at

 trial.

          Further, possession of the stolen cards, as shown through the complete COVID

vaccination card sales activity, is evidence of guilty knowledge on the part of the

defendant. As the Seventh Circuit has long recognized, “an inference of guilty

knowledge may be drawn from the fact of unexplained possession of stolen goods.”

United States v. Woody, 55 F.3d 1257, 1264 (7th Cir. 1995), quoting United States v.

Clark, 776 F.2d 623, 627 (7th Cir. 1984). The COVID vaccination cards at issue were

federal property intended for legitimate use in the national COVID vaccine rollout.

The defendant had no way to acquire the cards for his own personal use and to offer

them for sale but by stealing the cards. As such, his possession of the stolen authentic

CDC vaccination cards – inferred from his sales activity immediately surrounding all

charged counts – is evidence a jury should consider regarding whether he committed

the offense charged the Indictment.

          Finally, the defendant’s chat message history regarding COVID vaccination

cards is even more probative of the charged offenses than the records of sales listings

and sales. Not only do the defendant’s chats demonstrate that he possessed the cards

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(even when he did not advertise them) and that the cards were authentic, but it shows

the state of mind of the defendant during several critical points in the timeline. As

referenced previously, eBay took administrative action by removing the defendant’s

listings numerous times. Through his chats, the defendant acknowledged this to

other users. After changing the item advertised to a vaccination card “pouch,” he

confirmed to numerous users through his chats that it was actually the card itself

that was offered for sale. This shows explicitly deceptive behavior on the part of the

defendant to hide his illegal behavior.

      Similarly, the chat message from the purported news reporter and the

immediate aftermath and change of behavior by the defendant is probative of the

defendant’s state of mind. Not only did the defendant’s sales listings promptly cease,

but the defendant claimed to other users that his account had been compromised.

Finally, and critically, the defendant advised these users to “destroy” any vaccination

card they ordered from his account previously. These chats show the guilty conscience

of an individual attempting to separate himself from his past criminal conduct and

hide any evidence of his wrongdoing. It is extremely probative of the charged offenses

and should be allowed to be put before the jury.




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              2.      If Records of Sales Activity is “Other Acts” Evidence,
                      There are Nonetheless Permitted Uses for Their
                      Admission.

       Even if the Court is persuaded that records of all sales activity constitutes

“other acts” evidence,7 the Federal Rules and Circuit precedent nonetheless allow for

their admission. Rule 404(b) provides, in relevant part, as follows:

       (b) Crimes, Wrongs, or Other Acts.
           (1) Prohibited Uses. Evidence of a crime, wrong, or other act is not
           admissible to prove a person's character in order to show that on a
           particular occasion the person acted in accordance with the character.
           (2) Permitted Uses . . . This evidence may be admissible for another
           purpose, such as proving motive, opportunity, intent, preparation, plan,
           knowledge, identity, absence of mistake, or lack of accident.
           ...

       In United States v. Gomez, 763 F.3d 845 (7th Cir. 2014), the Seventh Circuit

cast out the long-used four-part test for admission of 404(b) evidence, abrogating

United States v. Zapata, 871 F.2d 616 (7th Cir. 989) and United States v. Shackleford,

738 F.2d 776 (7th Cir. 1984), and articulated the new admissibility standard for Rule

404(b) evidence:

       [T]he proponent of the evidence must . . . establish that the other act is
       relevant to a specific purpose other than the person's character or
       propensity to behave in a certain way. See Fed.R.Evid. 401, 402, 404(b).
       Other-act evidence need not be excluded whenever a propensity

7 Rule 404(b)(3) requires the government to provide notice to a defendant if it intends to
introduce “other acts” evidence. While the government’s primary position is that the evidence
in question is not “other acts” evidence, if the Court determines it is, the government believes
it has met its notice obligation through the filing of the instant motion.

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      inference can be drawn. But its relevance to “another purpose” must be
      established through a chain of reasoning that does not rely on the
      forbidden inference that the person has a certain character and acted in
      accordance with that character on the occasion charged in the case.
Gomez, 763 F.3d at 860.

      Evidence of all COVID vaccination card sales activity is admissible under

several bases permitted under Rule 404(b), including opportunity, intent, knowledge,

and modus operandi. Each basis is discussed separately below.

                   a.     Opportunity to Commit the Offense Charged

      First, as discussed in detail in Section II.A.1., the sales activity in question

demonstrates that the defendant possessed authentic COVID cards issued by the

CDC, and by necessity had access to the cards and the opportunity to steal them. This

is the same reasoning applied by the Seventh Circuit in United States v. Washington,

962 F.3d 901 (7th Cir. 2020). In Washington, the defendant was charged with

possessing a firearm as a felon. Id. at 903. The Seventh Circuit upheld a district

court’s admission of photographs of a defendant holding a firearm approximately

three months before the charged conduct, reasoning that the evidence showed that

the defendant “had recent access to, and the ability to exercise control over,” the

firearm charged, and that the relevance of the photographs “did not depend on an




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inference about [the defendant’s] propensity to possess firearms in general or any

other forbidden inference about his character.” Id. at 906.8

      Similarly, the defendant in this case is charged with theft of authentic CDC

COVID vaccination cards. The complete sales activity of his eBay account shows he

“had recent access to, and the ability to exercise control over,” authentic CDC COVID

vaccination cards. See id. Like the evidence in Washington, the Court should consider

the cards marketed for sale on eBay as the same cards charged in the Indictment.

First, as argued above, limiting admissible sales activity evidence only to the cards

sold that directly resulted in charged counts is illogical because there is strong

evidence that the defendant possessed cards, even when he was not actively

advertising them through a sales listing. Further, there was only one version of

COVID vaccination cards created by the CDC and issued for use in the public sphere.

As such, these cards are “singular” in nature. The fact that the defendant specifically

advertised the cards as authentic and issued by the CDC further supports that the

cards referenced in the sales activity records should be considered the “same”

evidence as the cards at issue in the Indictment.




8 There was dispute at trial as to whether the firearm in the photographs was the same as
the firearm charged. The government elicited evidence that it was the same firearm, while
the defendant testified the firearm in the photos was a “prop gun.” Id. at 905. The Court’s
reasoning was based on the assumption that the firearm in the photographs was the same
firearm the defendant was charged with possessing. Id. at 906.

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      The condensed time frame of the sales activity and its temporal proximity to

the sales charged in the Indictment weighs even more heavily in favor of admission.

As noted, the disputed evidence in question in Washington was from three months

before the charged conduct, which that Court characterized as “recent,” and weighed

in favor admissibility. Id. at 905. In the instant case, the entire timeline of relevant

sales activity is 21 days. Each of the 12 sales that led to counts in the Indictment fall

within that 21-day window. All of the evidence of sales activity is, at most, several

days removed from a sale that led to a specific count. All of these factors support the

admissibility of the evidence to show the defendant had the opportunity to commit

the crime alleged.

                           b.     Intent to Deprive

      In addition to showing that the defendant had recent access to authentic

COVID cards and the opportunity to steal them, the evidence in question also shows

his intent to deprive the owner of its use and benefit. The defendant is charged with

theft of government property, in violation of 18 U.S.C. § 641, and an element the

government must prove at trial is that the defendant stole the cards “knowingly with

the intent to deprive the owner of the use or benefit” of the cards. See Fed. Crim. Jury

Instr. 7th Cir. (2022 ed.). That the defendant offered the cards for sale is probative of

this element. The evidence is not just important for the mere fact that it shows the

defendant possessed the cards. It goes a step further and establishes that the

defendant sought to – and did – sell the cards, thereby depriving the actual owner of

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their use and benefit. As such, the evidence is admissible under another express

“permitted use” of Rule 404(b)(2).

                            c.   Knowledge of Government Property

      Next, evidence of the complete eBay sales activity by the defendant of COVID

vaccination cards is strong evidence of the defendant’s knowledge that the cards were,

in fact, property of the federal government. As noted previously, 36 of the 37 sales

listings advertised the item for sale as “Blank CDC Vaccination Record Card,”

“Authentic Blank CDC Vaccination Record Card,” or “Authentic CDC Vaccination

Record Card.” Each of these descriptions, as well as the accompanying chat messages

where the defendant discusses the cards’ authenticity, is an acknowledgment by the

seller that the item in question is federal property. This is important evidence for a

jury in a trial for theft of government property, and a reasonable basis for the

admission of the records.

                            d.   Modus Operandi

      Finally, complete evidence of the defendant’s eBay sales activity regarding

COVID vaccination cards should be admitted as modus operandi evidence. The

Seventh Circuit has allowed such evidence when it “bear[s] a singularly strong

resemblance to the pattern of the offense charged with the similarities between the

two crimes sufficiently idiosyncratic to permit an inference of pattern for purposes of

proof.” United States v. Thomas, 986 F.3d 723, 731 (7th Cir. 2021) citing United States

v. Thomas, 321 F.3d 627, 634-35 (7th Cir. 2003) (internal quotation marks omitted).

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The Court explained that, for other acts evidence to be admitted under this theory,

the facts “must be sufficiently unique that the predominate inference is that it is

unlikely that the defendant would be involved in two or more situations with such

similar circumstances without having anything to do with them.” Id. Further,

“[d]istinctiveness is key to whether something is proper modus operandi evidence.”

Id.

        The evidence at issue in this motion is quite distinctive. It relates to the

ongoing advertising and sale of a singular item which is not available to the general

public. The item was advertised and sold in the same forum – and internet

marketplace – through the same specific company – eBay – and by the same account

– asianjackson – as the items charged in the Indictment. The price of the item

advertised and sold in the other acts was the same as, or very close to, the price of

the items charged in the Indictment. In short, if the records of sales activity of the

items not charged in the Indictment are, in fact, “other acts,” evidence, they are so

unique and similar to the conduct charged that they are “more probative of a Rule

404(b)(2) element and less likely to provoke a propensity inference.” Id. at 732. The

evidence is proper modus operandi evidence.

               3.    The Evidence is Not Barred by Rule 403

        Lastly, the evidence in question is not barred by Rule 403, as its probative

value is not substantially outweighed by a danger of unfair prejudice. Whether or not

the Court deems the evidence direct evidence of the charged offense or “other acts”

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evidence, it still must undergo a Rule 403 analysis. See Gomez, 763 F.3d at 860. And

“[w]hile ‘other-acts’ evidence often raises special concerns about unfair prejudice, that

alone is not sufficient to prohibit admission.” United States v. Tinsley, 62 F.4th 376,

383 (7th Cir. 2023) (citing United States v. Brooks, 125 F.3d 484, 499-500 (7th Cir.

1997).9 Indeed, relevant evidence is inherently prejudicial. United States v. Medina,

755 F.2d 1269, 1274 (7th Cir. 1985). However,

         [t]hat the evidence is damaging to the defendant's case is not a ground
         for excluding it under Rule 403. It is only when the probative value of
         the evidence is substantially outweighed by the likelihood that the
         evidence will induce the jury to decide the case on an improper basis,
         commonly an emotional one, rather than on the evidence presented on
         the crime charged, that Rule 403 requires its exclusion.

Id. “In weighing the probative value of evidence against the dangers and

considerations enumerated in Rule 403, the general rule is that the balance should

be struck in favor of admission.” United States v. Denberg, 212 F.3d 987, 993 (7th Cir.

2000).

         The complete sales activity evidence at issue in this motion is not unfairly

prejudicial. First, it is limited in scope. The 21 days of sales activity covers almost the

exact span of time between the first and last sale that led to specific charges in the

Indictment. Further, the nature of the conduct in the evidence in question is the same




9 Brooks, the case relied upon by the Seventh Circuit in 2023, upheld the admission of
evidence of defendants' drug use to establish their motive to commit bank robbery, where
drug use or possession was not charged. 125 F.3d at 500.

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as the conduct leading to the defendant’s charges. In other words, the jury will not be

exposed to a different type of criminal behavior than that for which the defendant is

already charged, as was the case in Brooks. Given this, the risk that the jury will

decide the case on an improper basis is low. It does not come close to outweighing the

probative value of the evidence, which is discussed throughout this motion, let alone

“substantially outweigh” it, as required to bar the evidence pursuant to Rule 403.

      For the reasons set forth above, evidence of all sales activity of COVID

vaccination cards from the defendant’s eBay account should be admitted.

      B.     MOTION TO ADMIT TESTIMONY OF WITNESS 1 REGARDING THE
             PURCHASE OF A PURPORTED VACCINATION CARD POUCH

      Next, the government seeks to call Witness 1 to elicit evidence testimony

regarding Witness 1’s purchase of an item called “Clear Pouch For CDC Vaccination

Record Card” from the eBay user “asianjackson.” Because the testimony Witness 1

would provide mirrors the records of eBay sales activity that is subject of the motion

in Section II.A., all of the arguments set forth in that motion are adopted herein. In

particular, testimony of the purchase from the defendant’s account of a COVID

vaccination card, disguised as a COVID card “pouch,” is direct evidence of the charged

offense because it shows the defendant had access to and possessed authentic COVID

vaccination cards. In the event the Court believes this would constitute “other acts”

evidence, the testimony is still admissible, as it shows the defendant’s opportunity to

commit the offense, his intent to deprive the owner of the use and benefit of the item,

his knowledge that the item constituted government property, and the defendant’s

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modus operandi. Finally, the testimony of this witness would not constitute unfairly

prejudicial evidence subject to exclusion under Rule 403.

      Testimony from Witness 1, however, is even more probative than records of the

other sales activity. Although the purchase of the purported pouch did not result is a

specific charge in the Indictment, this evidence shows specific deceptive measures the

defendant took in an attempt to conceal his criminal conduct. “It is well-settled in

this circuit that evidence of flight and concealment is admissible to show

consciousness of guilt, as well as guilt itself.” United States v. Zabic, 745 F.2d 464,

471 (1984) (citing United States v. Solomon, 688 F.2d 1171, 1176 (7th Cir. 1982);

United States v. Jackson, 572 F.2d 636, 639 (7th Cir. 1978)). The defendant’s false

advertisement of vaccination card “pouches,” when in fact the items he was selling

were the vaccination cards themselves, shows his consciousness of guilt, and should

be allowed on that basis.

      Further, testimony from Witness 1 is not redundant of other sales activity

evidence regarding the purported pouches for sale by the defendant’s eBay account.

While the defendant’s chat merely messages suggest that the item for sale in that

particular listing was actually a blank COVID vaccination card, testimony from this

witness confirms it. The witness would testify about the specific sales listing, the

purchase process, and finally, the item that was ultimately delivered following the

purchase: a blank COVID vaccination card. Testimony from Witness 1 is significantly




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more probative than the sales activity records about the purported vaccination card

pouch and should be admitted.

      Next, Witness 1 can provide the link in the sequential chain that ultimately

resulted in the defendant stopping the marketing and sale of COVID vaccination

cards through eBay. In this regard, Witness 1 would testify that, following his

purchase of a card through eBay, he notified a Washington Post reporter. Other

evidence will show that the defendant received a chat message days later from an

individual claiming to be a Washington Post reporter, at which time the defendant’s

eBay activity changed dramatically. The defendant immediately stopped selling

COVID vaccination cards, claimed his account had been hacked, and told other users

to destroy any cards they may have received from him in the past. This is critical

evidence, and it is put in proper context with the testimony of Witness 1.

      Finally, even if the Court believes testimony from this witness constitutes

“other acts” evidence, there is an additional basis under which the evidence may still

be allowed. Specifically, the Seventh Circuit has held that evidence demonstrating

consciousness of guilt may be properly admitted under Rule 404(b). See United States

v. Robinson, 161 F.3d 463, 467 (7th Cir. 1998), United States v. Acevedo, 28 F.3d 686,

688 (7th Cir. 1994); see also United States v. Bartelho, 129 F.3d 663, 677 (1st Cir.

1997). Because this witness would provide evidence and testimony that clearly go to

the defendant’s consciousness of guilt, such evidence and testimony may still be

allowed, even if it is not direct evidence of the crime charged.


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         For the reasons set forth above, Witness 1 would offer relevant and probative

testimony to the crimes charged in the Indictment and should be allowed to testify.


III.     MOTION TO EXCLUDE EVIDENCE RELATING TO JURY
         NULLIFICATION

         Finally, the government respectfully requests that the Court exclude evidence

and argument that do not go to the facts of this case, but instead are intended to

inflame the passions of jurors on subjects only tangentially related to the alleged

criminal conduct at issue. Specifically, the government seeks to exclude commentary

by all witnesses and counsel on topics such as the efficacy of vaccines, the utility of

vaccine mandates, and the merits of COVID responses at the local, state, and federal

levels. Such evidence and argument are not relevant to the charged conduct and

would serve only to increase the risk of jury nullification.10

         First, the topics referenced above are not relevant. “Evidence is relevant if it is

both probative (having any tendency to make a fact more or less probable than it

would be without the evidence) and material (the fact must be of consequence in

determining the action).” United States v. Chanu, 40 F.4th 528, 544 (7th Cir. 2022)


10 The government does expect to elicit certain fact evidence related to the national COVID
response to provide the jury proper context of the allegations at issue. See Dkt. 1, par. 1(e)-
1(j). Specifically, one or more witnesses will discuss the COVID vaccine development and
subsequent national rollout and distribution of the vaccine and related materials, including
vaccination cards. Because the defendant is charged with the theft of those cards, limited
background information is necessary foundation for jurors to reach a just verdict. However,
the government does not intend to admit evidence or make argument relating vaccine
effectiveness, the virtues of taking the vaccine, or any other topics it seeks to preclude in this
motion.

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(quotation marks omitted). Here, the items at issue are neither probative nor

material. Facts, opinions, and argument that do not speak to the alleged conduct of

the defendant, but rather to general sentiments on COVID and vaccinations have no

bearing whatsoever on whether the defendant stole government property. There is

no fact of consequence made more or less probable with the admissibility of this

evidence. That applies to individual witnesses and their personal positions on these

issues, as well as positions of the public in general, as represented through witness

testimony or argument by counsel.

      Even more, evidence or argument along these lines would only serve to inflame

the passions of the jury and increase the risk of jury nullification. “Jury nullification

occurs when a jury disregards the law and the judge’s instructions as to the law and

acquits a criminal defendant who is guilty.” United States v. Rainone, 2013 WL

2890004, at *1 (N.D. Ill. Jan. 31, 2013). The Seventh Circuit recognizes that “jury

nullification is ‘a legitimate concern of prosecutors because acquittals cannot be

appealed.’” United States v. Mandell, 2014 WL 287520, at *2 (N.D. Ill. Jan. 27, 2014)

citing United States v. Perez, 86 F.3d 735, 736 (7th Cir. 1996); see also United States

v. Rash, 840 F.3d 462 (7th Cir. 2016) (“Jury nullification is a material risk when…the

jury receives information that invites it to ignore the law”). The Seventh Circuit

states that the Court “may preclude defense attorneys from any attempts to present

evidence or argument of nullification. Rainone, 2013 WL 2890004, at *1 citing United

States v. Perez, 86 F.3d 735, 736 (7th Cir. 1996).


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          Because the defendant is charged with the theft of COVID vaccination cards,

this trial will involve topics that are regularly and fervently debated in the public

sphere through news outlets, social media, protests and rallies, and the chambers of

local, state, and federal governments. While justice is never served when criminal

trial proceedings are infiltrated by irrelevant evidence intended to provoke an

emotional response from the jury, risk of injustice is particularly high here, where

the subject matter is already contentious. Both the public and the defendant are best

served if the Court holds a hard line on allowing evidence and argument that increase

the risk of jury nullification.

          In addition to the subject areas noted above, the government also asks that the

Court exclude other evidence that could lead to jury nullification. For example, the

government seeks to preclude any reference by the defendant to any of the following:

impact on the defendant’s family members from the prosecution; potential penalties

the defendant could face if convicted; and irrelevant references to the defendant’s

family. Each of these are all examples of inappropriate and unfairly prejudicial

evidence aimed at jury nullification designed to encourage a verdict without regard

to the law. The Court should preclude the defendants from presenting this type of

evidence—whether on direct or cross-examination—and making arguments on these

topics.

                                  *          *            *




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      For the reasons stated herein, the government respectfully requests that the

Court grant its motions in limine.

                                Respectfully submitted,

Dated: May 31, 2023             GLENN S. LEON
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